            Case 2:07-cr-00298-MCE Document 114 Filed 03/03/14 Page 1 of 2


 1
     Jeffrey L. Staniels
 2   Attorney at Law
     216 F Street, No. 98
 3   Davis, CA 95616
 4   Tel: (530) 220-9770
     Email: stanielslaw@dcn.org
 5

 6                        IN THE UNITED STATES DISTRICT COURT

 7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,              ) NO. 2:07-cr-298 MCE
 9                                          ) NO. 2:14-cr-042 MCE
                                            )
10
             Plaintiff,                     )
                                            )
11                 v.                       ) STIPULATION AND ORDER
                                            ) CONTINUING STATUS CONFERENCE
12                                          )
     JESUS LUPIAN,                          )
13                                          ) Date: February 27, 2014
                                            ) Time: 9:00 a.m.
              Defendant.                    ) Judge: Hon. Morrison C. England Jr.
14
                                            )
15

16
           IT IS HEREBY STIPULATED by and between Special Assistant United
17
     States Attorney Josh Sigal, counsel for Plaintiff, and Jeffrey L. Staniels, court
18

19   appointed attorney for Defendant Jesus Lupian, that case No. 2:07-cr-298 MCE
20
     be vacated from this court’s February 27, 2014, calendar, and continued until
21
     March 20, 2014, at 9:00 a.m. for status conference. It is requested that case No.
22

23   2:14-cr-042 MCE be calendared at the same time for arraignment and entry of
24
     plea. The parties agree that the two matters are related. The court is advised
25
     that discussions between counsel have produced what appears to counsel to be
26

27   an agreement in principle for resolution of both matters that needs to be reduced
28
             Case 2:07-cr-00298-MCE Document 114 Filed 03/03/14 Page 2 of 2


 1
     to writing and executed. Entry of an admission and plea of guilty to the new
 2
     charge are anticipated on March 20, 2014.
 3

 4         Since the older pending matter involves an alleged violation of supervised

 5   release, no speedy trial issues are implicated by this request. No Speedy Trial
 6
     issue arises from the delay in an initial appearance on the newer matter because
 7

 8
     Mr. Lupian has not been arrested on that matter, the delay is agreed to by his

 9   counsel, and an initial appearance on March 20, 2014, is less than 30 days after
10
     the filing of the information and is therefore timely.
11

12
           IT IS SO STIPULATED.

13

14
     Date: February 25, 2014                        /s/ Josh Sigal
15                                                  Josh Sigal
                                                    Special Assistant U.S. Attorney
16
                                                    Counsel for Plaintiff
17
     Date: February 25, 2014                        s/ Jeffrey L. Staniels
18
                                                    Jeffrey L. Staniels
19                                                  Counsel for Defendant
                                                    JESUS LUPIAN
20

21
                                            ORDER
22
           It is so ordered.
23
     Dated: February 28, 2014
24

25

26

27

28
